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                    UNITED STATES DISTRICT COURT
                                                for the
                                       Southern District of Illinois



               Julius Gleghorn
                 Plaintiff(s)

                      v.                              Case Number: 19-cv-1295-MAB

           Mika Logistics Inc. et al
                Defendant(s)


                           DEFAULT ENTRY BY CLERK
       Entry of default pursuant to Federal Rule of Civil Procedure 55(a) has been requested by

Plaintiff(s). Because it appears from the court’s record that a party has failed to plead or

otherwise defend as required by the Federal Rules of Civil Procedure, default is entered against

the following defendant(s): Mika Logistics Inc. and Sergei.

       Dated: January 28, 2020
                                                            MARGARET M. ROBERTIE, Clerk of Court


                                                             By:       s/Reid Hermann
                                                                       Deputy Clerk
